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            BARBARA LAYNE, Plaintiff-Appellee, v. HUISH DETERGENTS,
                         INC., Defendant-Appellant.

                                          No. 00-6082

            UNITED STATES COURT OF APPEALS FOR THE SIXTH CIR-
                                 CUIT

                     40 Fed. Appx. 200; 2002 U.S. App. LEXIS 14015


                                     July 10, 2002, Filed

NOTICE:     [**1] NOT RECOMMENDED                  Appellant: Edwin S. Hopson, Denise L. St.
FOR FULL-TEXT PUBLICATION. SLXTH                   Clair, Gordon A. Rowe, Jr., Wyatt, Tarrant &
CIRCUIT RULE 28(g) LIMITS CITATION                 Combs, Louisville, KY.
TO SPECIFIC SITUATIONS. PLEASE SEE
RULE 28(g) BEFORE CITING IN A PRO-                 JUDGES: Before: MOORE and COLE, Cir-
CEEDING IN A COURT IN THE SIXTH                    cuit Judges and TARNOW,' District Judge.
CIRCUIT. IF CITED, A COPY MUST BE
SERVED ON OTHER PARTIES AND THE                           *    The Honorable Arthur J. Tarnow,
COURT. THIS NOTICE IS TO BE PROMI-                        United States District Judge for the East-
NENTLY DISPLAYED IF THIS DECISION                         ern District of Michigan, sitting by desig-
IS REPRODUCED.                                            nation.

PRIOR HISTORY:      ON APPEAL FROM                 OPINION BY: ARTHUR J.TARNOW
THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF KEN-                   OPINION
TUCKY. 97-00229. McKinley, Jr. 07-17-00.                [*201] ARTHUR J. TARNOW, District
                                                   Judge. Defendant Huish Detergents, Inc.
DISPOSITION:       Judgment of the district        ("Huish") appeals the district court's judgment
court affirmed.                                    for Plaintiff Barbara Layne. Layne, a former
                                                   Huish employee, sued Huish in state court for
                                                   sexual harassment and for tiring her in retalia-
COUNSEL: For BARBARA LAYNE, Plain-                 tion [**2] for filing a sexual harassment com-
tiff - Appellee: Nancy O. Roberts, Bowling         plaint under Kentucky law. Huish removed the
Green, KY.                                         case to federal court upon the addition of a
                                                   claim under [*202] Title VII of the Civil
For HUISH DETERGENTS INC, Defendant -



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 Rights Act of 1964, 42 U.S.C. B 2000e et seq.         formal complaint. Layne then clocked out for
After the district court dismissed Layne's sexu-        the day and went home.
 al harassment claim, a jury returned a verdict             Layne worked Saturday but arrived late for
for Layne on her state-law retaliation claim.           work on Sunday, November 3, 1996. She
 The jury awarded her $ 15,000 in compensato-           claims that her alarm clock failed due to a
 ry damages and $ 100,000 in punitive dam-              power outage. When Layne arrived, Ray told
 ages. Huish appeals four issues: (1) whether           her that she had an appointment with Pendle-
 the district court erred in admitting Layne's          ton at 8: [**4] 00 a.m. the next morning
 testimony regarding various incidents of sexual        (Monday) and that she should go home. At the
 harassment; (2) whether the evidence was suf-          meeting, on Monday, November 4, 1996,
ficient to support the jury's verdict; (3) whether      Pendleton informed Layne that she was being
 the district court erred in instructing the jury       terminated for poor attendance. The atten-
 with respect to punitive damages; and (4)              dance policy did not state explicitly how many
 whether the district court's retaliation instruc-      absences or tardies were required before an
 tion was erroneous. We AFFIRM the judgment             employee would be terminated. The parties do
 of the district court.                                 not dispute that Layne had a poor attendance
    I. Background                                       record. Layne admits to having missed or been
                                                        tardy several days during her employment.
    Barbara Layne worked at Huish's Bowling
Green, Kentucky, detergent plant from Febru-
ary 1996 until November 4, 1996, when she               Pendleton testified that she was somewhat con-
was fired. In her lawsuit, she claimed that she         cerned about terminating Layne so soon after
was subjected to pervasive, degrading and hu-           the filing of Layne's complaint. But "the deci-
miliating sexual comments while employed at             sion was finally made that regardless of that,
Huish. Layne [**3] claims that she brought              we would take action with her as we would
many of the incidents to the attention of her im-       with any other employee with attendance prob-
mediate supervisor, Norris Ray, and that Ray            lems of this nature." Pendleton testified that in
spoke to the employees making the remarks in            making this decision she reviewed Layne's file
some cases. Ray, however, never followed                and consulted with her supervisor, Dick Amos.
Huish's formal policy with respect to Layne's           Amos was also aware of the sexual harassment
complaints. Until November 1, 1996, Layne               complaint.
never attempted to take the matter to Huish's               Layne filed suit in Kentucky state court on
human resources manager, Pam Pendleton.                 October 31, 1997, alleging, inter alia, sexual
                                                        harassment and retaliatory discharge under the
On Friday, November 1, 1996, Layne was told             Kentucky civil rights statute, Ky. Rev. Stat. B
by another Huish employee that there was a              344.010 et seq. Layne subsequently amended
rumor circulating that Layne had engaged in             her complaint to add a federal [**5] Title VII
sexual intercourse with two male Huish em-              claim, at which point Huish removed the case
ployees at a Halloween party. Upset by the              to federal court. Huish moved for summary
comment, Layne was unable to perform her job           judgment on all Layne's claims. The district
responsibilities. When Ray tried to reassure            [*203] court granted Huish's motion with re-
Layne that he would discuss the matter with the         spect to the sexual harassment claim, holding
employee spreading this rumor, Layne request-           that "the conduct at issue, while offensive,
ed to speak to Pendleton. Ray arranged a meet-          [did] not rise to the level of defining an objec-
ing, which took place thirty minutes later.             tively hostile work environment." That court
Layne told Pendleton that she wished to file a          also held, however, that Layne had "estab-



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lished a prima facie case of retaliatory dis-                   about someone doing something to
charge." The district court further concluded                   her or saying something to her ...
that Huish advanced a legitimate reason for fir-                this trial is not about whether those
ing Layne ~ chronic absenteeism. Layne had                      things actually happened []. [**7]
"presented evidence which raises a question of                  That's not what this trial is about.
fact as to whether Huish's proffered reason ac-                      The trial is about whether she
tually motivated the discharge." (Emphasis in                   complained to Norris Ray about
the original). Specifically, the district court not-            those things that she says hap-
ed "the temporal proximity between the date of                  pened. Because I'm not going to let
filing of the internal sexual harassment com-                   the defendant come in here and try
plaint and the date of termination make Layne's                 to deny all the allegations that
discharge highly suspect." Thus, the district                   were made []. I am going to let
court denied Huish summary judgment on                          them bring in Norris Ray, and he'll
Layne's retaliatory discharge claim.                            testify to you about whether or not
     Prior to trial on this claim, Huish moved the              she complained or not.
court to exclude evidence relating to the details                   So I just need you to under-
of the alleged sexual harassment. Huish argued                  stand that we're not really con-
that details [**6] of such alleged incidents                    cerned about the truth of the alle-
were not relevant to Layne's retaliatory firing                 gations that she made. We're only
claim. Further, Huish objected because there                    concerned about the truth of
was a substantial risk of unfair prejudice from                 whether she complained to her su-
such evidence. Denying this motion, the Court                   pervisor about things, and it's those
limited Layne's testimony to what she told Ray                  things that she's going to testify to
regarding the various incidents of alleged sexu-                you about. But you don't need to
al harassment, because whether the incidents                    be too concerned about whether
actually occurred was irrelevant to the underly-                those things really happened.
ing retaliation claim. During the trial, Huish's
counsel objected to Layne's testimony with re-                      She's going to say they did.
spect to questions aimed at the details of inci-                They would love to say they didn't.
dents underlying Layne's complaints to Ray. In                  But I don't want this trial to last ten
response, the district judge instructed Layne to                weeks, okay? So that's what we're
testify to the substance of her complaints to                   doing, and I hope you understand
Ray. The district court also admonished the                     that.
jury:

         Ladies and gentlemen, let me tell                The jury rendered a verdict for Layne.
      you what's going on. We're having                        Huish moved the court for judgment as a
      some difficulty keeping things to                   matter of law, pursuant to Fed. R. Civ. P. 50,
      the point. We want to make things                   or, alternatively, for a new trial, pursuant to
      as relevant for you as we can, but                  Fed. R. Civ. P. 59. In this motion, Huish argued
      it's difficult for the witness to testi-            that Layne had not presented evidence suffi-
      fy about these events without giv-                  cient to support the jury's [**8] finding of re-
      ing some background to it.                          taliation, that the jury had been misled by the
          So I want you to understand                     district court's admission of irrelevant and prej-
      that when she makes statements                      udicial testimony, [*204] that the jury instruc-



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tions were confusing and incomplete, and that            were evidence central to the determination of
punitive damages were not warranted on the               the ultimate issue in the case — whether Layne
facts of the case. The district court denied this        was fired in retaliation for filing the formal
motion. Huish filed this timely appeal.                  complaint. Layne's past complaints to Ray were
                                                         relevant because they support the conclusion
II. Analysis                                             that Layne was fired for making the formal
                                                         complaint rather than for her chronic absen-
A) Evidentiary Rulings                                   teeism. Although Ray was arguably not a deci-
                                                         sion maker, the unofficial complaints to Ray
    We review all evidentiary rulings for abuse
of discretion. See Trepel v. Roadway Express,            constitute the first prong of [** 10] Layne's the-
                                                         ory. These complaints and the associated toler-
Inc., 194 F.3d 708, 716 (6th Cir. 1999).
                                                         ance of poor attendance bear on Huish's reac-
     First, Huish argues that the district court         tion to the official complaint and intolerance.
abused its discretion by allowing witnesses to
                                                              Huish next argues that even if evidence of
testify as to the facts of various incidents of al-
                                                         Layne's complaints were relevant, the evidence
leged sexual harassment. Huish had been grant-
                                                         should have been excluded as prejudicial under
ed summary judgment on Layne's sexual ha-
                                                         Fed. R. Evid. 403. Appellate review of the dis-
rassment claim before trial. Thus, Huish rea-
                                                         trict court's balancing under Fed. R. Evid. 403
soned that testimony as to the alleged sexual
                                                         is limited. This court "must look at the evi-
harassment was irrelevant pursuant to Fed. R.
                                                         dence in the light most favorable to its propo-
Evid. 402.
                                                         nent, maximizing its probative value and mini-
    Huish's relevance argument regarding the             mizing its prejudicial effect." United States v.
details of the alleged incidents of sexual harass-       Zipkin, 729 F.2d 384, 389 (6th Cir. 1984)(cita-
ment is without merit. The Federal Rules of Ev-          tions omitted). The Zipkin Court elaborated on
idence define relevance as: "[] evidence having          this principle stating:
any tendency to make the existence of any fact
that is of consequence to the determination of                     the draftsmen intended that the
the action [**9] more probable or less proba-                  trial judge be given a very substan-
ble than it would be without the evidence." Fed.               tial discretion in 'balancing' proba-
R. Evid. 401. Layne theorizes that her poor at-                tive value on the one hand and 'un-
tendance record only became a problem when                     fair prejudice' on the other, and
she filed a formal complaint of sexual harass-                 that [the trial judge] should not be
ment. According to her theory, if she informal-                reversed simply because an appel-
ly complained to Ray, he was willing to over-                  late court believes it would have
look her poor attendance. Layne reasons that                   decided the matter otherwise."
her past complaints to Ray regarding inappro-
priate incidents of harassment were relevant be-
cause they supported this version of her retalia-         729 F.2d at 390 (quoting United States v.
tion claim. Layne had to show that Ray tolerat-          Long, 574 F.2d 761, 767 (3d Cir.), cert, denied,
ed her poor attendance record until she filed a          439 U.S. 985, 58 L. Ed. 2d 657, 99 S. Ct. 577
formal sexual harassment complaint. At that              (1978)). [**11]
point, he took her attendance issue to Pendle-
ton.                                                         Viewing the proffered evidence in the light
                                                         most favorable to Layne, the testimony regard-
   Layne's past sexual harassment complaints             ing her past complaints was [*205] highly rel-
were relevant under this theory. Her complaints          evant to the ultimate determination in the case.



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Even though the testimony did involve some                  Huish next argues that the district court
danger of jury confusion or unfair prejudice,          erred in denying its motion for judgment as a
the district court did not err in concluding that      matter of law, pursuant to Fed. R. Civ. P. 50,
this danger did not substantially outweigh the         or, in the alternative, for a new [**13] trial.
probative value. Moreover, the district court          Huish argues that the evidence produced by
admonished the jury that the testimony at issue        Layne was insufficient to support the jury's ver-
was not offered to prove that the underlying           dict. While this case was removed under the
events that Layne complained of actually took          federal court's federal-question jurisdiction, it is
place. This limiting instruction minimized any         appropriate to analyze it under the standard for
potential confusion or unfair prejudicial effect.      a diversity case. 3 In this case the district court
    Huish also argues that the district court          applied only Kentucky state law. Further, the
abused its discretion by excluding evidence of         remaining parties were diverse, as Layne was a
Layne's own sexually charged conduct at work.          citizen of Kentucky and Huish was a Utah cor-
According to Huish, this evidence would have           poration with its principal place of business in
challenged the good faith of Layne's harass-           Utah.
ment complaint. The district court excluded this
evidence, because it determined that such evi-                3 In federal question cases, this court
dence was not relevant to whether Huish retali-               generally reviews de novo a Rule 50 mo-
ated against Layne for making sexual harass-                  tion based on insufficient evidence. See
ment complaints. 2 The district court was also                Gray v. Toshiba America Consumer
concerned that evidence of Layne's character                  Prods., Inc., 263 F.3d 595, 598 (6th Cir.
would distract the jury from the retaliation is-              2001). Under this standard of review, the
sue. The [**12] district court did not abuse its              evidence should be viewed in the light
discretion in determining that evidence of                    most favorable to the non-moving party
Layne's own conduct was not relevant. The is-                 and all reasonable inferences are to be
sue before the trier of fact was whether Layne                drawn in the non-moving party's favor.
was retaliated against for making a sexual ha-             This Court has held that the standard of re-
rassment complaint. Given the discretion in fa-        view in diversity cases for a Rule 50 motion
vor of a district court's Rule 402 determina-          challenging the sufficiency of the [**14] evi-
tions, Huish's argument does not have merit.           dence is the "standard [] applicable under the
                                                       law of the forum state." K&T Enters., Inc. v.
      2 Layne argues on appeal that evidence           Zurich Ins. Co., 97 F.3d 171, 176 (6th Cir.
      of her past conduct was excluded proper-         1996). Kentucky reviews such motions under a
      ly because Huish failed to comply with           standard similar to that applied in federal-ques-
      Fed. R. Evid. 412, which governs the ad-         tion cases. In Morales v. American Honda Mo-
      missibility of a victim's past sexual be-        tor Co., 151 F.3d 500, 506 (6th Cir. 1998), the
      havior or alleged sexual predisposition.         court stated:
      We do not address this issue because the
      district judge did not exclude this evi-                    Under Kentcuky law, a motion
      dence based on Huish's failure to comply                for [] judgment as a matter of law
      with the procedural requirements of Fed.                [] should be granted only if 'there
      R. Evid. 412(c). The district court made a              is a complete absence of proof on a
      relevance determination.                                material issue in the action, or if no
                                                              disputed issue of fact exists upon
B) Sufficiency of the Evidence                                which reasonable minds could dif-
                                                              fer.'


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                                                       that Layne showed up late for work after mak-
                                                       ing the complaint negates any inference that
 [*206] Id. (quoting Washington v. Goodman,            could be drawn from the timing of Layne's dis-
830 S.W.2d 398, 400, 39:5 Ky. L. Summary 23            charge. See id. at 35.
(Ky. Ct. App. 1992)).                                      To rebut Huish's purported basis for termi-
    The claim submitted to the jury was                nation, Layne relied on temporal proximity, the
brought under the Kentucky Civil Rights Act,           company's inconsistent attendance records, and
rather than Title VII. Kentucky courts, howev-         the credibility of Huish's witnesses. The deci-
er, generally employ Title VII when interpret-         sion to terminate Layne was made within three
ing the Kentucky Act. In Ammerman v. Ed. of            days of the filing of the complaint. Layne had a
Educ. of Nicholas County., 30 S.W.3d 793,              poor attendance record prior to filing the offi-
797-98 (Ky. 2000), the Court held: "The Ken-           cial complaint, but was not sanctioned. Almost
tucky Act is similar to Title VII of the 1964          as soon as she filed the official complaint, she
federal Civil Rights Act and should be inter-          was fired. That she was late for work the day
preted consistently with federal law." (footnote       before her termination does not alter the fact
omitted). [**15] In analyzing this case, the           that she had filed a formal sexual harassment
Court applies principles of Title VII.                 claim only three days before.
    Layne produced sufficient evidence to es-              Further, Layne's counsel attempted to un-
tablish a prima facie case of retaliation. She         dermine the credibility of Ray with respect to
made a sexual harassment complaint which is a          his reason for recommending that Layne be ter-
protected activity, of which Huish was aware,          minated. Layne pointed to various inconsisten-
she was terminated and offered circumstantial          cies in Ray's testimony. She also questioned
evidence of causation. See Morris v. Oldham            Ray as to his conduct on Sunday, November 3,
Co. Fiscal Court, 201 F.3d 784, 792 (6th Cir.          1996, the day before Layne was fired. [**17]
2000). Similarly, Huish satisfied its burden by        That day when Layne did not show to work
producing a legitimate non-retaliatory explana-        timely, Ray called Pendleton at home in the
tion, poor attendance, for Layne's discharge.          early morning (on a Sunday) to inform Pendle-
Thus, Layne was required under the McDon-              ton. This fact is consistent with Layne's theory
nell Douglas burden-shifting rules to prove that       that Ray had determined that her sexual harass-
Huish's proffered non-retaliatory explanation          ment complaint was potentially threatening to
for her termination was pretextual. The district       his position, thus motivating his adverse recom-
court determined, in denying Huish's motion            mendation.
for summary judgment, that Layne had pro-                  The jury could have reasonably concluded
duced sufficient evidence to create a dispute of       that Huish retaliated against Layne for filing
material fact on this issue. Denying Huish's           the formal sexual harassment complaint based
Rule 50 motion, the court held that Layne pro-         on the facts established in her prima facie case
duced sufficient evidence at trial to support the      and a disbelief of Ray's and Pendleton's expla-
jury's finding that Huish's explanation for her        nations for her termination. Layne was not re-
determination was pretextual.                          quired to submit additional evidence to reach a
    Huish argues, however, that Layne did not          threshold of sufficiency to support this conclu-
offer sufficient evidence at trial to support a        sion. Although the exact nature [*207] of
finding of retaliation. Layne's [**16] case was        plaintiffs evidentiary burden is not clear in a
faulty, according to Huish, because Layne re-          case such as this, the Supreme Court has pro-
lied predominately on the timing of her dis-           vided the following guidance in a recent age-
charge. Further, Huish contends that the fact          discrimination case:



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                                                      Huish employees. Thus, Huish concludes that it
        Whether judgment as a matter of               is entitled to judgment as a matter of law be-
      law is appropriate in any particular            cause there was no evidence that the Huish em-
      case will depend on a number of                 ployees with authority to terminate Layne retal-
      factors. Those include the strength             iated against her for filing the formal com-
      of the palintiff s prima facie case,            plaint.
      the probative value of the proof                    This argument fails. Huish concedes that
      that the employer's explanation is              Ray recommended that Layne be terminated.
      false, and any other evidence that              Pendleton admitted that such a recommenda-
      supports the employer's [**18]                  tion coming from Ray would carry some
      case and that properly may be con-              weight. In addition, Pendleton knew about
      sidered on a motion for judgment                Layne's formal sexual harassment complaint, as
      as a matter of law. For purposes of             she discussed this matter with Ray before ter-
      this case, we need not — and could              minating Layne. Pendleton testified that, under
      not ~ resolve all of the circum-                the terms of her at-will employment, Layne
      stances in which such factors                   could have been terminated at any point in her
      would entitle an employer to judg-              employment. But Pendleton, like Ray, appar-
      ment as a matter of law. It suffices            ently did not determine that Layne's attendance
      to say that, because a prima facie              problems warranted her termination until after
      case and sufficient evidence to re-             the filing of the formal complaint. Indeed, the
      ject the employer's explanation                 record indicates that Pendleton approved a
      may permit a finding of liability,              four-percent pay raise for Layne in September
      the Court of Appeals erred in pro-               1996, despite her poor attendance record. Fur-
      ceeding from the premise that a                 ther, the other individual with authority, Amos,
      plaintiff must always introduce ad-             knew of the complaint before approving [**20]
      ditional, independent evidence of               the adverse employment action. Thus, there is
      discrimination.                                 evidence in the record to support the jury's ver-
                                                      dict against Huish on that basis.
  Reeves v. Sanderson Plumbing Prods., Inc.,          C) Punitive Damages
530 U.S. 133, 148-49, 147 L. Ed. 2d 105, 120
S. Ct. 2097. Considering these factors in the             Huish next argues that the district court
present case, Huish was not entitled to judg-         erred by instructing the jury on the issue of
ment as a matter of law. Layne presented an es-       punitive damages. There is no binding Sixth
pecially strong prima facie case and attacked         Circuit or Kentucky Supreme Court precedent
the credibility of Ray, her immediate supervi-        on-point as to punitive damages under the Ken-
sor. There was evidence in the record from            tucky Act. Thus, this Court must first determine
which the jury could have concluded that              whether punitive damages are available. A
Layne's filing of the formal complaint was the        number of courts have determined that the
motivating factor for her discharge. Given the        available remedies under the act are limited to
jury's verdict, it apparently accepted that ver-      those specifically enumerated. This line of cas-
sion of events over that presented by the Huish       es has restricted plaintiffs from seeking puni-
employees, Ray and Pendleton.                         tive damages because such damages are not in-
                                                      cluded in the plain language of the Act. See
    [**19] Next, Huish argues that the jury           Lewis v. Quaker Chem. Corp., 2000 U.S. App.
wrongly concluded that Ray terminated Layne.          LEXIS 22321, [*208] 2000 WL 1234356, at
Ray did not have the authority to terminate


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*11 (6th Cir. 2000); Boone v. Kent Feeds,               malice." Ky. Rev. Stat. 15 411.184(2). In wrong-
/we., 2001 U.S. Dist. LEXIS 9616, 2001 WL               ful discharge cases, Kentucky courts have held
 1775375 (Ky. 2001); and Messick v. Toyota              that the required state of mind may be inferred.
Motor Mfg. Kentucky Inc., 45 F. Supp. 2d 578,           See Northeast Health Mgt., Inc. v. Cotton, 56
581-82 (E.D. Ky. 1999).                                 S.W.3d 440, 448-49 (Ky. Ct. App. 2001).
     However, the better understanding of avail-             In the present case, the district court in-
able remedies under the Kentucky Act is found           structed the jury in terms of Ky. Rev. Stat. B
in cases holding that punitive damages are              411.184. There was sufficient evidence from
available. In Timmons v. Wal-Mart, 33 F. Supp.          which the jury could have concluded that Huish
2d 577, 578 (W.D. Ky. 1999), [**21] the court           intentionally retaliated against Layne for filing
held that punitive damages are available under          a formal sexual harassment complaint. After
the Kentucky Act because it emulates the Fed-           determining that Layne was intentionally retali-
eral Civil Rights Act which was amended to al-          ated against for filing a formal complaint, the
low punitive damages. The court made the                jury inferred, as is permitted under Kentucky
same conclusion that punitive damages were              law, that Huish officials had the requisite men-
available, although based on different reason-          tal state for the imposition of punitive damages.
ing, in Barton v. United Parcel Service, Inc.,          Thus, the district court did not err when it in-
 175 F. Supp. 2d 904 (W.D. Ky. 2001). In Bar-           structed [**23] the jury on punitive damages.
ton, the court recognized that the Kentucky                 Second, Huish argues that the jury was not
general punitive damages statute, Ky. Rev.              presented with any evidence from which it
Stat. B 411.184, authorized punitive damages in         could reasonably conclude that the decision-
all actions except breach of contract. Id. at 910.      makers, Pendleton and Amos, were influenced
Ky. Rev. Stat. B 411.184(5) states: "This statute       by an improper motive. Huish contends that
is applicable to all cases in which punitive            Layne's entire case rested on the misdeeds of
damages are sought and supercedes any and all
                                                        Ray, who did not have authority to terminate
existing statutory or judicial law insofar as such      the employment relationship. Further, Huish
law is inconsistent with the provisions of this         contends that the evidence does not support a
statute." Moreover, Kentucky state courts have          finding that Ray acted with the requisite state
generally held that punitive damages are avail-
                                                        of mind. Huish's argument does not withstand
able in wrongful termination cases. See Simp-
                                                        scrutiny. There was evidence that Layne com-
son Cty. Steeplechase Ass'n, Inc. v. Roberts,
                                                        plained repeatedly about alleged sexual harass-
898 S.W.2d 523, 526, 42:4 Ky. L. Summary 24
                                                        ment to Ray, her immediate supervisor. Ray did
(Ky. Ct. App. 1995). This Court concludes that          not report this activity to Pendleton. However,
punitive damages are available under the Ken-           when Pendleton was made aware of the harass-
tucky Act.                                              ment, Ray acted quickly to inform Pendleton of
    Huish argues that a reasonable juror could          Layne's attendance problems, calling her on a
not [**22] have found that Huish had the re-            Sunday. This evidence [*209] does support an
quired state of mind to support an award of             underlying finding of malice, oppression or
punitive damages. Huish's argument relies on            fraud.
federal case law as opposed to Kentucky case                Huish's argument that there was not evi-
law. Under Kentucky law, "[a] plaintiff shall           dence to support a finding against the company
recover punitive damages only upon proving,             because the decision makers were unaware of
by clear and convincing evidence, that the de-          the harassment fails as well. Pendleton clearly
fendant from whom such damages are sought               knew of Layne's protected activity. Pendleton
acted toward plaintiff with oppression, fraud or
                                                        took Layne's formal complaint of harassment,



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[**24] then terminated her days after. Pendle-         D) Challenged Jury Instruction on Retaliation
ton testified that she informed Amos of the            Claim
pending harassment complaint before the deci-              This court "reviews a jury instruction to de-
sion to terminate was made. Thus, the individu-        termine whether it was a correct interpretation
al employees with authority were aware of              of the relevant law." Rogers v. T.J. Samson
Layne's protected activity.                            Community Hasp., 276 F.3d 228, 232 (6th Cir.
     Third, Huish argues that punitive damages         2002). In doing so, the court looks to the in-
cannot be assessed in this case pursuant to Ky.        structions as a whole "[]to determine whether
Rev. Stat. 6 411.184(3). This provision states:        they adequately inform the jury of the relevant
"In no case shall punitive damages be assessed         considerations." Kitchen v. Chippewa Valley
against a principal or employer for the act of an      Schs., 825 F.2d 1004, 1010 (6th Cir. 1987).
agent or employee unless the principal or em-          [**26] "A judgment may be reversed if the in-
ployer authorized or ratified or should have an-       structions, viewed as a whole, were confusing,
ticipated the conduct in question." The Ken-           misleading and prejudicial." Id. at 1011.
tucky Court applied this provision broadly in               The Kentucky Supreme Court has held that
Kroger Co. v. Willgruber, 920 S.W.2d 61, 43:4          the proper instruction on causation in an unlaw-
Ky. L. Summary 26 (Ky. 1996). In Kroger, the           ful termination case "should be framed in terms
Kentucky Supreme Court held that punitive              of whether the lawfully impermissible reason
damages were available against the employer            for discharge 'was a substantial and motivating
based, in part, on the personnel manager's or-         factor but for which the employee would not
ders to the employee's disability insurer to con-      have been discharged.'" First Property Mgt.
duct surveillance of the employee to ensure that       Corp. v. Zarebidaki, 867 S.W.2d 185, 186 (Ky.
he was disabled.                                       1993). In the present case, the district court in-
    In another case applying this provision, the       structed the jury:
Kentucky Supreme Court held that punitive
damages could not be assessed against an em-                      To prevail on this claim, the
ployer. See Berrier v. Bizer, 57 S.W.3d 271,                  plaintiff must prove to you by a
284 (Ky. 2001). [**25] In Berrier, the only re-               preponderance of the evidence that
maining defendant in the case was the employ-                 her making of complaints of sexual
er. The court held that punitive damages could                harassment to the Defendant was a
not be awarded pursuant to Ky. Rev. Stat. 6                   substantial and motivating factor in
411.184(3), because the employer lacked any                   its decision to discharge her, but
knowledge or input as to the employment deci-                 for which she would not have been
sion. Unlike the employer in Berrier, the em-                 discharged.
ployer in the present case did have knowledge
of the protected activity. As discussed above,
both managers with authority as to personnel            [*210] This instruction, then, adequately in-
decisions knew of Layne's protected activity.          formed the jury of the relevant law.
Despite this knowledge, and with the recom-                Huish objects, however, to the following
mendation of Layne's immediate supervisor,             sentence, found in the next paragraph of the
Layne was fired days after exercising her right.       court's instructions: "If you believe by a pre-
These facts provide sufficient support for an          ponderance of the evidence that the making of
award of punitive damages under Kentucky               sexual harassment complaints did in fact con-
law.                                                   tribute to [**27] the discharge as one of the
                                                       substantial and motivating factors, then you



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may find for the Plaintiff." Huish argues that         sis for termination does not necessarily relieve
this instruction confused the jury, as evidenced       liability. Although Huish would have preferred
by the jury's question to the judge during delib-      an explicit restatement of the "but-for" lan-
erations. The jurors asked whether there could         guage found in the preceding paragraph, on the
be liability if Huish fired Layne for her ab-          whole, the challenged instruction was not con-
sences and her complaint. Huish argues that            fusing or prejudicial.
this instruction was confusing because the                  Huish also argues that the district court
court's directions were inconsistent. The in-          erred in failing to instruct the jury on McDon-
structions indicated that the complaints had to        nell Douglas burden shifting. Specifically,
be "one of the substantial and motivating fac-         Huish contends that the court should have in-
tors, instead of the "but-for" cause. This error,      structed the jury on the issue of pretext. This
according to Huish, is grounds for reversal.           court has held, however, that district courts
     Taken as a whole, the challenged instruc-         need not instruct juries on the burden shifting
tions were not confusing or prejudicial to             scheme so long as the "ultimate question of re-
Huish. The district court instructed the jury          taliation" is put before the jury. See Kitchen,
that, in order to render a verdict for Layne, it       825 F.2d at 1012. Moreover, "in Kentucky jury
had to find that her sexual harassment com-            instructions do not include evidentiary pre-
plaints were the but-for reason for her termina-       sumptions." Meyers v. Chapman Printing Co.,
tion. The sentence that Huish claims was con-          840 S.W.2d 814, 824 (Ky. 1992). The ultimate
fusing did not contradict that earlier instruction.    question of retaliation was put before the jury
In context, the sentence at issue was intended to      in [**29] this case. Thus, there was no error.
clarify the standard found in the previous para-
graph of the instructions. The sentence at issue       III. Conclusion
followed two sentences cautioning the jury that            For the reasons stated above, we AFFIRM
discharge alone [**28] does not establish retal-       the district court's judgment.
iation and that Huish provided a legitimate ba-




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